446 F.2d 49
    UNITED STATES of America, Plaintiff-Appellee,v.James David WILLIAMS, Defendant-Appellant.
    No. 31132 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    August 12, 1971.
    
      Appeal from the United States District Court for the Northern District of Georgia; William C. O'Kelley, District Judge.
      Theodore E. Smith, Atlanta, Ga., court appointed, for defendant-appellant.
      John W. Stokes, Jr., U. S. Atty., Richard H. Still, Jr., Asst. U. S. Atty, Atlanta, Ga., for plaintiff-appellee.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      1
      See Carter v. United States, 10 Cir., 1964, 333 F.2d 354; Schmerber v. State of California, 384 U.S. 757, 86 S.Ct. 1826, 16 L.Ed.2d 908 (1966).
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    